       Case 3:24-cv-01198-JR          Document 39   Filed 02/03/25     Page 1 of 7




Luke D. Miller                                   Jonathan M. Radmacher
Miller Bradley Law LLC                          McEwen Gisvold LLP
1567 Edgewater St NW PMB 43                      1100 SW 6th Avenue, Suite 1600
Salem OR 97304                                   Portland, OR 97204
office@millerbradleylaw.com                     jjonathanr@mcewengisvold.com
                                                  onathanr@mcewengisvold.com
(503) 967-0074                                   (503) 226-7321

M.E. Buck Dougherty III                         Of           for Defendant
                                                Of Attorneys for
Liberty Justice Center                          Oregon School Activities Association
7500 Rialto Blvd., Suite 1-250
Austin, TX 78735
bdougherty@libertyjusticecenter.org
(512) 481-4400

Of           for Plaintiff
Of Attorneysfor  Plaintiff

       O’Kasey
Karen O'Kasey
Taylor B. Lewis
Zachariah H. Allen
Hart Wagner LLP
1000 SW Broadway, Twentieth Floor
Portland, OR 97205
kok@hartwagner.com
tbl@hartwagner.com
zha@hartwagner.com
(503) 222-4499

Of           for Defendants
Of Attorneysfor
Lake Oswego School District and
                            and
Lake Oswego School Board
               Case 3:24-cv-01198-JR          Document 39        Filed 02/03/25        Page 2 of 7




                                   IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON

                                            PORTLAND DIVISION

      JOHN PARKS,                                                              Case No. 3:24-cv-1198-JR

                      Plaintiff,                                   RULE 26(F) JOINT REPORT AND
                                                                    PROPOSED DISCOVERY PLAN
               v.

      LAKE OSWEGO SCHOOL DISTRICT;
      LAKE OSWEGO SCHOOL BOARD;
      OREGON SCHOOL ACTIVITIES
      ASSOCIATION; PORTLAND PUBLIC
      SCHOOLS; and MARSHALL HASKINS,
      individually and in his representative
                for OREGON SCHOOL
      capacity for
                     ASSOCIATION and
      ACTIVITIES ASSOCIATION
      PORTLAND PUBLIC SCHOOLS,

                      Defendants.


                    RULE 26(f) JOINT REPORT AND PROPOSED DISCOVERY PLAN

               Pursuant to F.R.C.P. 26(f) and LR 26-1(1), the parties to this case, by and through their

      respective counsel, jointly submit this Rule 26(f) Report and Proposed Discovery Plan.

      ///

      ////
        //

      ////
        //

      ////
        //

      ////
        //

Page 1 -     RULE 26(f) JOINT REPORT AND PROPOSED                                   HART WAGNER LLP
                                                                             1000 S.W. Broadway, Twentieth Floor
             DISCOVERY PLAN                                                         Portland, Oregon 97205
                                                                                   Telephone: (503) 222-4499
                                                                                   Facsimile: (503) 222-2301
             Case 3:24-cv-01198-JR          Document 39       Filed 02/03/25        Page 3 of 7




             I.      Rule 26(f) Conference

             Pursuant to F.R.C.P. 26(f) and LR 26-1(1), the parties conferred on January 6, 2025,

      which was attended by the following attorneys:

      M.E. Buck Dougherty III                              Jonathan M. Radmacher
      Liberty Justice Center                               McEwen Gisvold LLP
      7500 Rialto Blvd., Suite 1-250                       1100 SW 6th Avenue, Suite 1600
      Austin, TX 78735                                     Portland, OR 97204
      bdougherty@libertyjusticecenter.org                 jjonathanr@mcewengisvold.com
                                                            onathanr@mcewengisvold.com
      (512) 481-4400                                       (503) 226-7321
                for Plaintiff
      Attorneysfor  Plaintiff                              Of           for Defendant
                                                           Of Attorneys for
                                                           Oregon School Activities Association
             O’Kasey
      Karen O'Kasey
      Taylor B. Lewis
      Hart Wagner LLP
      1000 SW Broadway, 20th Floor
      Portland, OR 97205
      kok@hartwagner.com
      tbl@hartwagner.com
      (503) 222-4499
                for Defendants
      Attorneysfor
      Lake Oswego School District and
                                  and Lake
      Oswego School Board


             II.     Nature of Discovery and Timeline for Discovery and Pretrial Motions

             The conferring parties have agreed to the following proposed discovery plan and timeline

      for completion of discovery and pretrial motions. Counsel for the OSAA maintains that pursuant

      to ORS 31.152(2), discovery should be stayed at least with respect to the OSAA, until resolution

      of the OSAA's
             OSAA’s Special Motion to Strike.

                     a.     Rule 26(a) Disclosures and Opening of Discovery (F.R.C.P.
                            26(f)(3)(A))

             Pursuant to LR 26-2, the parties have agreed to forgo the disclosures required by

      F.R.C.P. 26(a)(1).




Page 2 -   RULE 26(f) JOINT REPORT AND PROPOSED                                  HART WAGNER LLP
                                                                          1000 S.W. Broadway, Twentieth Floor
           DISCOVERY PLAN                                                        Portland, Oregon 97205
                                                                                Telephone: (503) 222-4499
                                                                                Facsimile: (503) 222-2301
              Case 3:24-cv-01198-JR           Document 39         Filed 02/03/25         Page 4 of 7




                       b.    Anticipated Scope of Discovery (F.R.C.P. 26(F)(3)(B))

              In accordance with F.R.C.P. 26(f)(3)(B), the parties agree that discovery will be

      conducted on the allegations and claims contained within plaintiff’s
                                                               plaintiff's First Amended Complaint

      and the denials and defenses raised in defendants’
                                             defendants' Answers. Expert discovery is not expected.

              The parties intend to conduct written discovery, including interrogatories, requests for

      production, and requests for admissions as authorized by the Federal Rules. The parties also

      intend to conduct depositions.

              Anticipated Scope of Plaintiff's
                                   Plaintiff’s Discovery:

              Plaintiff currently intends to take written discovery, including, without limitation,

      interrogatories, requests for production of documents, and requests for admissions, relevant to

      the factual basis for the allegations and legal theories in the First Amended Complaint. Plaintiff

      intends to conduct depositions, including, without limitation, agents of defendants and various

      third parties.

              Anticipated Scope of Defendants'
                                   Defendants’ Discovery:

              Defendants intend to take discovery in accordance with the Federal Rules of Civil

      Procedure and Local Rules, including, without limitation, requests for production of documents,

      requests for admissions, and interrogatories relevant to the factual basis for the allegations and

      legal theories in the pleadings. Defendants also intend to conduct depositions, including, without

      limitation, plaintiff, agents of other co-defendants, and various third parties.

                       c.    Electronically Stored Information (F.R.C.P. 26(f)(3)(C))

              In accordance with F.R.C.P. 26(f)(3)(C), the parties have discussed electronically stored

      information. As guiding principles, the parties agree to meet and confer in good faith concerning

      issues that arise with respect to the disclosure or discovery of electronically stored information,


Page 3 -   RULE 26(f) JOINT REPORT AND PROPOSED                                      HART WAGNER LLP
                                                                              1000 S.W. Broadway, Twentieth Floor
           DISCOVERY PLAN                                                            Portland, Oregon 97205
                                                                                    Telephone: (503) 222-4499
                                                                                    Facsimile: (503) 222-2301
              Case 3:24-cv-01198-JR           Document 39         Filed 02/03/25        Page 5 of 7




      and to use their best efforts to produce electronically stored information in the format preferred

      by the requesting party.

                     d.      Privilege Issues (F.R.C.P. 26(f)(3)(D))

              In accordance with F.R.C.P. 26(f)(3)(D), the parties have discussed privilege and

      protection issues. To the extent a stipulated protective order is later required, the parties will

      meet and negotiate the terms of the order before filing with the Court.

              Pursuant to F.R.C.P. 26(b)(5), the parties are requiring a privilege log for any information

      that is withheld based on privilege, with the exception of any correspondence solely between

      counsel of record and their respective clients after the date of the filing of the lawsuit. For any

      other claim of privilege, claim of confidentiality, or other basis for withholding the information,

      a privilege log is required.

                     e.      Limitations of Discovery (F.R.C.P. 26(f)(3)(E))

              The parties do not currently anticipate exceeding discovery limitations set by the Federal

      Rules of Civil Procedure and the Local Rules and adopt the default limitations imposed by them.

      The parties reserve the right to seek leave of Court to exceed these discovery limitations if

      necessary.

                     f.      Other Discovery & Scheduling Orders (F.R.C.P. 26(f)(3)(F))

              In accordance with F.R.C.P. 26(f)(3)(F), the parties have discussed the need for other

      discovery or scheduling orders under Rules 26(c), 16(b), and 16(c). The parties do not currently

      request any other orders, though they may seek additional orders as discovery proceeds and if the

      need arises.

      ///

      ///


Page 4 -    RULE 26(f) JOINT REPORT AND PROPOSED                                     HART WAGNER LLP
                                                                              1000 S.W. Broadway, Twentieth Floor
            DISCOVERY PLAN                                                           Portland, Oregon 97205
                                                                                    Telephone: (503) 222-4499
                                                                                    Facsimile: (503) 222-2301
              Case 3:24-cv-01198-JR            Document 39      Filed 02/03/25         Page 6 of 7




                      g.
                      g.       Timeframe for Discovery

              The parties agree that discovery will be completed by June 27, 2025.

                      h.       Expert Disclosures and Reports

              The parties do not anticipate the need for expert discovery.

                      i.       Discovery Plan and Proposed Filing Dates

              The parties request and propose the following litigation schedule:

                                      Event                      Parties’
                                                                 Parties' Proposal
                                Close of Discovery                June 27, 2025
                           Filing of Initial Dispositive           July 31, 2025
                                     Motions
                                Joint ADR Report              To be set by the Court

                           Final Pre-Trial Conference         To be set by the Court

                                      Trial                   To be set by the Court


              III.    Settlement

              The parties have not yet discussed settlement or alternative dispute resolution. The

      parties may do this at a later date.

             DATED this 3rd day of February 2025.

                                                           Respectfully submitted,
                                                           /s/ Taylor B. Lewis
                                                                  O’Kasey
                                                           Karen O'Kasey
                                                           Taylor B. Lewis
                                                           Hart Wagner LLP
                                                           1000 SW Broadway, Twentieth Floor
                                                           Portland, OR 97205

                                                           Of           for Defendants
                                                           Of Attorneysfor
                                                           Lake Oswego School District and
                                                                                       and
                                                           Lake Oswego School Board




Page 5 -   RULE 26(f) JOINT REPORT AND PROPOSED                                     HART WAGNER LLP
                                                                             1000 S.W. Broadway, Twentieth Floor
           DISCOVERY PLAN                                                           Portland, Oregon 97205
                                                                                   Telephone: (503) 222-4499
                                                                                   Facsimile: (503) 222-2301
             Case 3:24-cv-01198-JR   Document 39    Filed 02/03/25       Page 7 of 7




                                                  M.E. Buck Dougherty III
                                              /s/ M.E.
                                              Luke D. Miller
                                              Miller Bradley Law LLC
                                              1567 Edgewater St NW PMB 43
                                              Salem OR 97304

                                              M.E. Buck Dougherty III
                                              Liberty Justice Center
                                              7500 Rialto Blvd., Suite 1-250
                                              Austin, TX 78735




                                                           M. Radmacher
                                              /s/ Jonathan M
                                              Jonathan M. Radmacher
                                              McEwen Gisvold LLP
                                              1100 SW 6th Avenue, Suite 1600
                                              Portland, OR 97204




Page 6 -   RULE 26(f) JOINT REPORT AND PROPOSED                       HART WAGNER LLP
                                                               1000 S.W. Broadway, Twentieth Floor
           DISCOVERY PLAN                                             Portland, Oregon 97205
                                                                     Telephone: (503) 222-4499
                                                                     Facsimile: (503) 222-2301
